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 1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
 2                                MIAMI DIVISION
                            CASE NO. 1:21-cv-21940-BB
 3
       NEIMA BENAVIDES, as Personal
 4     Representative of the Estate of
       Naibel Benavides Leon, deceased,
 5
                   Plaintiff,                                        August 27, 2024
 6                                                                   1:01 p.m.
                 vs.
 7
       TESLA, INC., a/k/a Tesla Florida, Inc.,
 8
                 Defendant.                    Pages 1 THROUGH 15
 9     ______________________________________________________________

10                        TRANSCRIPT OF STATUS CONFERENCE
                          BEFORE THE HONORABLE BETH BLOOM
11                         UNITED STATES DISTRICT JUDGE

12     Appearances:

13     FOR THE PLAINTIFF:     THE ROUSSO LAW FIRM
                              ADAM T. BOUMEL, ESQ.
14                            9350 South Dixie Highway, Suite 1520
                              Miami, Florida 33156
15
                              POSES LAW GROUP, PA
16                            TODD POSES, ESQ.
                              169 East Flagler Street, Suite 1600
17                            Miami, Florida 33131

18     FOR THE DEFENDANT:     BOWMAN and BROOKE, LLP
                              THOMAS P. BRANIGAN, ESQ.
19                            41000 Woodward Avenue, Suite 200
                              Bloomfield Hills, Michigan 48304
20
                              BOWMAN and BROOKE, LLP
21                            WHITNEY V. CRUZ, ESQ.
                              Two Alhambra Plaza, Suite 800
22                            Coral Gables, Florida 33134

23     COURT REPORTER:        Yvette Hernandez
                              U.S. District Court
24                            400 North Miami Avenue, Room 10-2
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 1          (Call to order of the Court, 1:01 p.m.)

 2               COURTROOM DEPUTY:           Calling Civil Case Number 21-21940,

 3     Neima Benavides v. Tesla, Inc.

 4               Counsel, please state your appearances for the record,

 5     beginning with Plaintiff's counsel.

 6               MR. BOUMEL:     Good afternoon, Your Honor.                 Adam Boumel.

 7               MR. POSES:    Todd Poses for the Plaintiff.

 8               THE COURT:    Hi.       Good afternoon.

 9               MR. BRANIGAN:       Good afternoon, Your Honor.              Tom

10     Branigan, from the Bowman Brooke Law Firm, for Tesla.

11               MS. CRUZ:    Whitney Cruz on behalf of Tesla as well.

12               THE COURT:    All right.              Good afternoon to each of you.

13     The purpose of the status conference is this 2021 case is

14     scheduled for trial as it stands on November 4th.                     I understand

15     that you still have a proceeding before Judge Torres and

16     there's an outstanding issue that at least is not ripe at this

17     point for the Court to even address.

18               And my reason for placing this on a status conference

19     is that in this district, as you know, our criminal cases take

20     priority.    And we have specially set a criminal matter that is

21     a three-week trial.     We have individuals traveling from out of

22     the country, and they've asked for the trial setting that would

23     interfere with the November 4th trial date.

24               So what I would like to do today is propose a special

25     set for this trial, which as I understand the parties

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 1     anticipate is going to take -- well, why don't I ask, instead

 2     of -- because I think it was some time ago when I asked how

 3     long this trial was going to take.

 4               So on behalf of Plaintiff, how long do you believe

 5     this trial may take us?

 6               MR. POSES:    Good afternoon, Judge.

 7               We believe -- and we consulted with Mr. Branigan

 8     before we got here today.           We think it will be between two and

 9     three weeks.

10               MR. BRANIGAN:       We agree with that, Your Honor.

11               Tom Branigan for Tesla.

12               THE COURT:    And that's what I thought.                    I thought it

13     was going to be a three-week trial.                     So what I'd like to do is

14     do what we're doing in this other case, as we've done in some

15     other cases in which we've specially set, is request a special

16     panel that we're addressing all hardships, letting them know of

17     the beginning and end date, so that we can bring in a

18     prospective panel that already knows about this trial.

19               So I have some dates to propose that I can give you

20     the two to three weeks that you are asking for.                       And the dates

21     are a calendar call for January 7th and we would begin on

22     January 13th.    Or a calendar call on January 21st and we would

23     begin on January 27th.

24               So I'll ...

25               MR. BRANIGAN:       May I -- I don't mean to jump ahead of

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 1     the Plaintiffs, but --

 2               THE COURT:    Yes.        Of course.

 3               MR. BOUMEL:     It's okay, Tom.

 4               MR. BRANIGAN:       I have had many conversations with

 5     Plaintiff's counsel over the last several weeks about

 6     schedules, and so this won't come as a surprise to them because

 7     I've shared my trial schedule with them.                          To get right to those

 8     dates, Your Honor, I'm currently set to start trial in federal

 9     court in Orlando before Judge Byron on January 6th, in a case

10     that I'm defending for BMW, which is projected to last about 10

11     trial days.

12               THE COURT:    Oh.

13               MR. BRANIGAN:       Once I finish that case, I'm set to

14     start trial on January 27 in the Wayne County Circuit Court in

15     Detroit for a case that will last quite a long time.                         It's a

16     very complex case for Mercedes-Benz.                      And so I've got conflicts

17     with the two dates that you have offered.

18               And I hate to be the difficult one, but my current

19     trial schedule is such that my next clear opening for trial is

20     probably in June of 2025.           And I've shared this with

21     Plaintiff's counsel, as I mentioned.                      And I really hate to be

22     the guy in the courtroom that's telling Your Honor that I've

23     got all these things on my schedule, but I do.                         And I would be

24     happy to share my schedule with you so that you could see, if

25     you need to see it.

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 1                THE COURT:   Well, I don't believe that anybody's

 2     doubting that that's on your schedule.                        The question is whether

 3     your schedule may be changing.                Are those specially set

 4     matters?

 5                MR. BRANIGAN:      Yes.        I have -- so the January 6th is

 6     specially set with Judge Byron.                 The January 27 is specially

 7     set with Judge Elder in Detroit.                  That's followed by a case

 8     that I have for Tesla that starts on April 28 in Harris County,

 9     Texas -- Houston, Texas.          I would not tell Your Honor that that

10     one is specially set, but that's my next setting.                        And you

11     know, it's always difficult for me and anyone else in the

12     courtroom to set something on top of something.

13                THE COURT:   Right.

14                MR. BRANIGAN:      But if I was -- I mean, if I was going

15     to pick a period on my calendar where I'd say, well, there

16     might be, you know, an opening there because that one's not

17     really going to go, it's probably going to be April/May of

18     2025.

19                THE COURT:   Well, could we look to March then?

20                MR. BRANIGAN:      Yes.        I think the trial that I have

21     starting on January 27 is likely to be a four-week trial, so

22     that takes me into the end of February.                         And so maybe the

23     middle of March to give myself a little bit of a -- a little

24     bit of a chance to go from one trial to the other.

25                THE COURT:   So how would that work for the March 18th

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 1     calendar call and begin trial on March 24th?

 2               MR. BRANIGAN:       I think that will work.                 If Your Honor

 3     will just give me 30 seconds, I just want to take a look at my

 4     specific calendar.

 5               THE COURT:    Of course.              Of course.

 6               MR. POSES:    And Judge, while he's looking, I can tell

 7     you that Mr. Branigan has entirely been forthright about his

 8     schedule.    You know, we know about it.                      You know, obviously,

 9     we'd like to try the case as soon as we can.

10               Obviously, we have some discovery issues, too, we want

11     to get resolved.     And I wanted to ask you about that

12     specifically.    You mentioned there's a pending issue before our

13     magistrate.    Is that the motion to compel that now that we're

14     going to be continued it will go back to him to decide the

15     issues before the Court?

16               THE COURT:    Well, what is before this Court, which

17     should be properly addressed by Judge Torres, is Docket Entry

18     268, which is the Motion to Request Tesla to Authorize Access.

19               MR. BOUMEL:     Yeah.         We're talking the same language.

20               THE COURT:    Yeah.         So I mean, it's not fully briefed,

21     but I would expect that Judge Torres would be handling that.

22               MR. POSES:    Okay.         And the reason why --

23               THE COURT:    But the Court's deadlines obviously would

24     be changed.    Docket Entry 258, which has the dispositives

25     literally -- actually, I'm sorry.                   It's 267 which has the

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 1     in-limine motions and dispositives by the end of September.                             So

 2     we would change those in fairness to the parties.

 3               MR. POSES:    Okay.         And so, Judge, here's I think the

 4     issue that we have -- and I don't know if you want to address

 5     the continuance first or this issue.                      But one thing that we

 6     have are depositions set for tomorrow, and the following day,

 7     of experts, based on the calendar that you gave us -- the new

 8     calendar that you gave us for the experts.                            But assuming -- and

 9     I can't assume it because it's before Judge Torres.                           But

10     assuming that there's new evidence in the case, these same

11     experts would examine that same evidence and then they would be

12     redeposed a third time.

13               So I just -- and that's why we put the issue before

14     Your Honor, because of timing issues, of course, and because of

15     the -- well, because of the timing issues.                            We wanted to be

16     efficient with the experts.

17               THE COURT:    Well, if you already have them scheduled,

18     then obviously you may want to go forward with the testimony.

19     But in terms of the pretrial motions, I would extend that

20     period of time, as well as the in-limine motions and the

21     pretrial stip.

22               So why don't we work on a date and then we'll work

23     backwards.    So let me get a firm date to specially set this

24     case.   So can we work on March 24th?

25               MR. BRANIGAN:       I can do that, Your Honor.

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 1                THE COURT:    How about for the Plaintiffs?

 2                MR. POSES:    We're okay.

 3                MR. BOUMEL:    Yes, Your Honor.

 4                THE COURT:    Okay.        Now let's talk about the order that

 5     the Court entered on August 15th amending the scheduling order.

 6     How much time realistically do you believe you need?                            We have

 7     the supplemental reports filed on -- so this has already taken

 8     place.   The August 20th, the depositions, you already have

 9     scheduled.    The rebuttal experts are September 10th.

10                So what I would really do is just relax the pretrial

11     motions.    And instead of -- because I've compressed the time

12     because I've extended the deadlines in order to give me an

13     opportunity to make sure I have those motions disposed of

14     before the calendar call.           So what I would probably do is move

15     it to September 30th, by another 45 days.                             And then move,

16     obviously, the Joint Pretrial Stipulation, and then kind of

17     place this case in a freeze pattern until our special set on

18     March 18th -- or excuse me -- March 24th.

19                So does that date work for everyone?                          Because I'll

20     adjust my schedule.      I'll work with the jury pool and we'll get

21     the jurors ordered for a three-week trial.

22                MR. BOUMEL:    So Your Honor -- Mr. Branigan, you first.

23                MR. BRANIGAN:      Thank you.

24                Your Honor, that makes sense to us on behalf of Tesla.

25     There is a discrete discovery issue that's been raised.                            Before

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 1     I get to that, let me say that -- and I think the Court is well

 2     aware of this already -- discovery in this case closed in June.

 3     The expert disclosure dates are passed.                         We have expert reports

 4     from all the experts.       We have deposed the experts once.                   I

 5     don't, in concept, object to moving the dates that are

 6     currently set for this week for these two experts for the

 7     Plaintiffs to be deposed again on discrete issues because of

 8     the, in my view, small chance that Judge Torres will disagree

 9     with our emphatic opposition to what's been requested.

10               And so because of the possibility that Judge Torres

11     may disagree with our position, I don't want to have to

12     redepose the experts twice.             And I would just propose that we

13     move the experts to be deposed after we have a ruling from

14     Judge Torres on this discrete discovery issue.

15               But as I was stating, the last time we were before

16     you, about discovery, we strongly opposed seeing discovery

17     reopened, extended, however anyone wants to describe it,

18     because discovery in this case went on for two years.                        We're

19     way past that.     This case, in our view, should be heading

20     towards trial with resolution of this very discrete issue that

21     the Plaintiffs have raised, which we oppose.

22               THE COURT:    All right.              Well, that is a discrete issue

23     and that would open up discovery for that limited purpose, and

24     that's before Judge Torres.             So with regard to the pressure of

25     having these experts' depositions taken, looking at the

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  1    schedule -- and I'm looking at Docket Entry 267 -- the

  2    supplemental expert reports, that date's already done.                         The

  3    August 30th date of depositions of the Plaintiffs, I'm going to

  4    move that, only with regard to this issue before Judge Torres,

  5    to September 30th.      I'm likewise going to move the rebuttal

  6    experts to October 10th.          The depositions of Tesla's rebuttal

  7    experts should be taken by October 17th.                          And that would mean

  8    that any pretrial motions, motions in limine, and Daubert

  9    motions should be filed by November 1st.

10                MR. POSES:    Judge, we have, I think, one issue with

11     the timing -- and that's what Mr. Branigan brought up to me as

12     we were discussing the issues -- in that if Judge Torres allows

13     for this evidence to obviously be vetted, what Mr. Branigan has

14     told me is that it might take Tesla some time.                         And so, you

15     know, while we might disagree with how much time it might take,

16     we trust Mr. Branigan implicitly that it will take some period

17     of time to be able to get the evidence, give it to Tesla, have

18     them do what they're going to do with it, ultimately then give

19     it to us, have it looked at by our experts, and then produce

20     reports.    It might create an issue, a timing issue.

21                THE COURT:    How much time?

22                MR. POSES:    I don't know.

23                THE COURT:    Let's assume that Judge Torres grants the

24     motion, requests that Tesla authorizes access.                         How much time

25     would be needed?

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  1               MR. BRANIGAN:      I think we're talking weeks, Your

  2    Honor.

  3               THE COURT:    Weeks meaning three to four weeks?

  4               MR. BRANIGAN:      Yes.

  5               THE COURT:    All right.             So then let's move the dates

  6    forward to October 30th, November 10th, November 17th, and

  7    December 1st for dispositives.

  8               MR. BRANIGAN:      Your Honor, would you mind repeating

  9    those one more time?

10                THE COURT:    Sure.        And it's actually just mirroring

11     and I'm happy to do that.           So October 30th will be -- the

12     depositions of the Plaintiff's experts must be completed;

13     November 10th for Tesla's rebuttal experts, if any;

14     September -- excuse me -- November 17th for Tesla's rebuttal

15     experts' depositions to be completed; December 1st for all

16     pretrial motions, Daubert, and all dispositives; and then in

17     terms of the pretrial stipulation, that will be two weeks

18     before the March 24th, and I'll put that in the order.

19                MR. BOUMEL:    So Your Honor, one issue that I would

20     like to address, and it is a discrete issue -- actually, two

21     issues.    Our expert neuropsychological witness did not actually

22     have time to test our client so we did her as a rebuttal

23     witness.    Since these dates are now moving back, can we have an

24     extension so that she can perform her own testing and form a

25     complete opinion, as opposed to the rebuttal opinion that she

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  1    is currently offering?

  2               THE COURT:    Is there any objection to that?

  3               MR. BRANIGAN:      We'd just like to have enough time to

  4    respond to it with own our expert.                     I mean, it raises new --

  5               MR. BOUMEL:    Sure.         Of course.

  6               MR. BRANIGAN:      -- new information that our expert may

  7    need to respond to and --

  8               THE COURT:    Well, since I've extended the time period,

  9    would that give everybody enough time?

10                MR. BOUMEL:    We've worked very well together.                       I'm

11     sure we could --

12                THE COURT:    Okay.        All right.              I just want to make

13     sure -- this is specially set.                We're going to make our effort

14     on this side with regard to the jury pool.                            So I want to make

15     sure it's on your calendar for the three weeks that we will be

16     trying this case.

17                MR. BOUMEL:    And then, one more issue, Your Honor --

18     and I don't mean to ask for too much, but I'm going to try.

19     We -- when our now co-counsel came aboard, he had a witness

20     that we wanted to include that we did not have the time to

21     include.    And it's basically a witness to explain to our jury

22     how marketing impacts consumers and how -- the trickle-down

23     effect of when you put marketing into the public sphere that

24     just because somebody doesn't see one specific ad that all

25     those marketing messages still come to them.

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  1               THE COURT:    What is it that you're asking for?

  2               MR. BOUMEL:    If we can have time to add one more

  3    witness.

  4               THE COURT:    Is there any objection to that?

  5               MR. BRANIGAN:      Yes, Your Honor.                    Yes.   This case has

  6    been pending for years.         We've all known what the experts --

  7    we've all known what the case is about for years.                          We've had

  8    expert disclosures come and go.                 We've deposed them and we're

  9    on this slippery slope of:            "Well, we just need one more thing

10     and this one more thing."

11                MR. POSES:    I just don't see the prejudice.                      It's the

12     only ask that we have.

13                THE COURT:    Then in terms -- if there isn't a

14     prejudice, I'm wondering why is it that that wasn't provided on

15     August 20th when the reports were --

16                MR. BOUMEL:    Because as Your Honor is aware from the

17     docket, we had new co-counsel appear in this case in June or

18     July.    He had this expert in his pocket.                        But the expert was

19     not comfortable with meeting the Court's current deadlines so

20     we just never disclosed the expert because we knew we could not

21     meet the deadlines per the expert's own comfort level with the

22     deadlines.    But now that we're going into March, we have no

23     doubt that we'll be able get Defendant -- you know, get Tesla

24     this expert's opinions and reports well in advance of any

25     deadlines that you set, and we can do it in the same time

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  1    period.

  2               MR. BRANIGAN:      Your Honor, I don't think it's that

  3    simple.    I don't know who this expert is.                           I don't know what

  4    real expertise this expert has.                 And now what this does is it

  5    puts us in a position where we now have to scramble --

  6               THE COURT:    And it puts me in a position because I

  7    don't know what this expert -- other than the representation.

  8               So with regard to reopening to allow that expert, it

  9    doesn't appear that there would be a basis at this point.                            I

10     mean, quite frankly, the time frame is the time frame.                            I'm

11     only addressing the taking of your experts' depositions because

12     there's a lot of time and expense in doing that.                            And to the

13     extent that Judge Torres grants this motion, then it would be

14     for naught.     So I think -- to bring in other issues I think at

15     this point is too late.

16                MR. BOUMEL:    Understood, Your Honor.                        Thank you for

17     considering --

18                THE COURT:    Okay.        So I am looking forward to trying

19     this case.    I will enter an amended order with regard to these

20     deadlines specially setting the trial, and I look forward to

21     working with each of you.

22                Have a pleasant afternoon.                   Thank you for your time.

23          (Proceedings concluded at 1:19 p.m.)

24

25

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  1    UNITED STATES OF AMERICA                  )

  2    ss:

  3    SOUTHERN DISTRICT OF FLORIDA              )

  4                             C E R T I F I C A T E

  5                I, Yvette Hernandez, Certified Shorthand Reporter in

  6    and for the United States District Court for the Southern

  7    District of Florida, do hereby certify that I was present at,

  8    and reported in machine shorthand, the proceedings had the 27th

  9    day of August, 2024, in the above-mentioned court; and that the

10     foregoing transcript is a true, correct, and complete

11     transcript of my stenographic notes.

12                 I further certify that this transcript contains pages

13     1 - 15.

14                 IN WITNESS WHEREOF, I have hereunto set my hand at

15     Miami, Florida, this 24th day of September, 2024.

16

17                             /s/Yvette Hernandez
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